219 F.2d 111
    A. F. LEVY, Plaintiff and Relator,v.UNITED STATES DISTRICT COURT FOR THE DISTRICT OF ARIZONA atPhoenix, Respondent.
    Misc. No. 408.
    United States Court of Appeals. Ninth Circuit.
    Jan. 18, 1955.
    
      Levy in pro. per.
      No appearance for respondent.
      DENMAN, Chief Judge, and BONE and POPE, Circuit Judges.
      PER CURIAM.
    
    
      1
      Levy seeks from this court permission to file a motion in the nature of a petition for a writ of mandamus to review an adverse judgment of the district court from which he has the remedy of appeal.  The application is denied.  Roche v. Evaporated Milk Ass'n, 319 U.S. 21, 30, 63 S.Ct. 938, 87 L.Ed. 1185; Levy v. District Court, Southern District of California, Central Division, order of this court, March 16, 1953.
    
    